                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                       Case No. 22-42888

JAMES MURRAY BEY, JR.,                                       Chapter 13

                                                             Judge Thomas J. Tucker
            Debtor.
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             ORDER DENYING FEE APPLICATION WITHOUT PREJUDICE,
                              AS PREMATURE

         This case is before the Court on a fee application filed on September 30, 2022 by the

attorney for the Debtor, entitled “First Application for Award and Approval of Payment of

Pre-Confirmation Attorney Fees as an Administrative Expense of Chapter 13 Plan Pursuant to

L.B.R. 9014-1 and 2016-2(b) (E.D.M.) From September 30, 2021-September 22, 2022” (Docket

# 36, the “Fee Application”). On October 27, 2022, the Debtor’s attorney filed a Certification of

Non-Response, stating that no one had filed an objection to the Fee Application.

         The Court will deny the Fee Application, without prejudice as stated below, as premature.

It is premature because no Chapter 13 plan has been confirmed yet. The case is currently

scheduled for an adjourned confirmation hearing to be held on December 15, 2022. (See Order at

Docket # 40.)

         The Fee Application does not demonstrate good cause for the Court to allow fees for the

Debtor’s counsel at this time, when no Chapter 13 plan has been confirmed yet. See generally 11

U.S.C. § 1326(a)(2). Even if the Court granted a fee application for the Debtor’s counsel now,

the Chapter 13 Trustee could not disburse any money to the Debtor’s counsel from funds on hand

at this time, under § 1326(a)(2).




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       Accordingly,

       IT IS ORDERED that the Fee Application (Docket # 36) is denied.

       IT IS FURTHER ORDERED that this Order is without prejudice to the right of the

Debtor’s counsel to file a new fee application, after one of the following events has occurred in

this case: (1) a plan has been confirmed; (2) the case has been converted to Chapter 7; or (3) the

case has been dismissed.


Signed on October 28, 2022




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